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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

 CARROLL INDEPENDENT SCHOOL DISTRICT,

            Plaintiff,
                                                     Case No. 4:24-cv-00461-O
       v.

 UNITED STATES DEPARTMENT OF EDUCATION;
 ET AL.,

             Defendants.

       PLAINTIFF CARROLL INDEPENDENT SCHOOL DISTRICT’S
                MOTION FOR SUMMARY JUDGMENT
                                     SUMMARY

      Under Federal Rule of Civil Procedure 56, Plaintiff Carroll Independent

School District (Carroll ISD) moves this Court for summary judgment against all

Defendants on Counts 1–4 of its Complaint.1 See ECF No. 1.

                                      MOTION

      As explained in the accompanying memorandum of law, the Department of

Education’s Title IX regulation, 89 Federal Register 33,474 (April 29, 2024) (the

Rule), is contrary to the Title IX statute and requires Carroll ISD to violate the

First Amendment rights of its students and staff. Plaintiff requests that this court

hold the Rule unlawful, set it aside, and vacate it pursuant to 5 U.S.C. § 706,

because it violates Title IX, the Administrative Procedure Act, and the U.S.

Constitution.



1 Because this Court has vacated and enjoined enforcement of the Interpretation

and Fact Sheet challenged by Plaintiff, Plaintiff is not currently suffering injury
from that agency action. See Texas v. Cardona, No. 4:23-cv-00604-O, 2024 WL
3658767, at *52 (N.D. Tex. Aug. 5, 2024). Plaintiff therefore does not object to this
Court dismissing without prejudice Counts 5 and 6 of its Complaint.


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         Plaintiff also requests a judgment declaring, pursuant to 28 U.S.C. § 2201

and 5 U.S.C. § 706, that (i) the Rule’s interpretation of Title IX is unlawful and (ii)

the Rule is arbitrary and capricious.

         In the alternative to vacatur, Plaintiff requests that this Court enter a

permanent injunction enjoining Defendants, any other agency or employee of the

United States, and anyone acting in concert with any such person from enforcing or

implementing the Rule.

         In support of its motion, Plaintiff relies on any oral argument permitted;

prior documents, orders, and arguments filed or held in this case; and the attached

memorandum in support of summary judgment, declaration of Dr. Lane Ledbetter,

superintendent of Carroll ISD, and Declaration of Mathew W. Hoffmann.

         There is no security requirement for the relief Plaintiff seeks. See Fed. R.

Civ. P. 65(c); Take Me Home, Inc. v. N.Y. Life Ins. Co., No. CIV. A. 94-3486, 1994

WL 710424, at *5 (E.D. La. Dec. 20, 1994). If the Court believes that any type of

bond is necessary, Plaintiff respectfully requests this Court to waive that bond. See

City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094 (5th Cir.

1981).

         If the Court grants this motion in whole or in part, Plaintiff reserves the

right to then file a motion to award attorneys’ fees and costs as the prevailing

party. See, e.g., 28 U.S.C. § 2412.




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Respectfully submitted this 16th day of August, 2024.


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                                      Bar members while D.C. Bar application is
                                      pending.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 16, 2024, a copy of the foregoing document

was filed with the Clerk of Court using the CM/ECF system. I further certify that

the foregoing document was served using the CM/ECF system on all counsel of

record.

                                      /s/ Mathew W. Hoffmann
                                      Mathew W. Hoffmann
                                      Counsel for Plaintiff Carroll ISD




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